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            EXHIBIT 1-F
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                                DEPARTMENT OF DEFENSE
                            OFFICE OF THE GENERAL COUNSEL
                                     1600 DEFENSE PENTAGON
                                    WASHINGTON , DC 20301-1600




                                                                                  JUL 1 7 2019
Mark S. Zaid
1250 Connecticut Ave., NW
Washington, DC 20036

VIA U.S. MAIL AND EMAIL

Dear Mr. Zaid:

         We received your July 10, 2019 letter concerning the government's prepublication review
of Mr. Snodgrass's manuscript Holding the Line: Inside Trump 's Pentagon with General Mattis.
As you acknowledged, the government has yet to issue a final determination. Some components
are still coordinating their review, which they expect to complete by mid-August. Once all
reviews are completed, the Defense Office of Prepublication and Security Review will provide
Mr. Snodgrass with the government's formal response, assuming no additional coordination is
required.

        With respect to unclassified statements made in th~ Joint Chiefs of Staffs conference
room known as the "Tank," your letter suggests that Mr. Snodgrass is unwilling to engage in
further dialogue about removing or rewriting attributed material, despite its sensitive nature and
Mr. Snodgrass's duty to protect the confidences of Secretary Mattis and other senior leaders,
including the President. Please confirm if this is the case. Note, however, that release of such
information would violate the public trust placed in Mr. Snodgrass, as Secretary Mattis explained
in guidance issued on October 3, 2017 (copy enclosed).

      You may contact Alci Ortiz of my office (alcides.ortiz-ferrari.civ@mail.mil,
703-571-0795) with any questions.

                                                 Sincerely,


                                            0&J-~~
                                                 Robert E. Easton
                                                 Director, Office of Litigation Counsel

Enclosure




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